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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

     JARED NALLY and
     THE INDIAN LEADER ASSOCIATION,

                             Plaintiff,
                                                              No. 21-2113-JAR-TJJ
     v.

     RONALD J. GRAHAM, in his individual and
     official capacity as President of Haskell Indian
     Nations University,

     HASKELL INDIAN NATIONS UNIVERSITY,

     TONY L. DEARMAN, in his official capacity as
     Director of the Bureau of Indian Education, and

     BUREAU OF INDIAN EDUCATION,

                             Defendants.

                   CERTIFICATION OF THE ADMINISTRATIVE RECORD

I, Connie Briggs, hereby, declare, and state as follows:

1.         I am an Attorney-Advisor in the Department of the Interior’s Office of the Solicitor,

Division of Indian Affairs, Branch of Tribal Government Services. The Department of the

Interior’s Office of the Solicitor provides advice, counsel, and legal representation to the

Department of the Interior and all bureaus and offices overseen by the Secretary of the

Department of the Interior, including the Bureau of Indian Education (“BIE”), which operates

Haskell Indian Nations University (“HINU”).


2.         On March 3, 2020, HINU student Jared Nally (“Nally”) and HINU student organization

The Indian Leader Association (collectively, “Plaintiffs”), filed a complaint (“Complaint”)

against HINU, BIE, Tony L. Dearman, in his official capacity, and Ronald J. Graham, in his


                                                    1
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                              Exhibit Index
Exhibit No.   Description                                     Page No.    No. of Pages
      1       Order Approving Settlement Agreement            USA000001              19
              Haskell Indian Nations University Student
     2        Handbook Code of Student Conduct                USA000020             98
     3        DOI Hotline Complaint Form                      USA000118             46
              July 10, 2020 Email From Jim Rains to Deans
     4        and Faculty                                     USA000164              1
              July 31, 2020 Email From Jim Rains to Rhonda
     5        Levaldo & Jared Nally                           USA000165              1
              August 3, 2020 Letter from Jared Nally to Jim
     6        Rains re: Advisor Response                      USA000166              2
              August 14, 2020 Email from Jim Rains to The
     7        Indian Leader re: Advisor                       USA000168              1
              August 14, 2020 Email from Jared Nally to Jim
     8        Rains re: Adviors                               USA000169             20
     9        April 24, 2020 Letter from FIRE to Jim Rains    USA000189              6
              October 26, 2020 Letter from FIRE to Dr. Ronald
     10       Graham                                          USA000195             17
              Undated Letter from Dr. Ronald Graham to
     11       Jared Nally                                     USA000212              1
              January 19, 2021 Letter from FIRE to Dr. Ronald
     12       Graham                                          USA000213             11
              March 25, 2021 Letter from FIRE to Jennifer
     13       Wiginton                                        USA000224              8
              October 16, 2020 Memorandum from Dr.
     14       Ronald Graham to Jared Nally                    USA000232              2
              October 17, 2020 Reporting Behavior of
     15       Subordinate Jared Nally to Tony Dearman         USA000234              5
              October 21, 2020 Email from Tony Dearman to
     16       Jared Nally                                     USA000239              6
              Harassing Conduct Fact-Finding Investigation
     17       February 9, 2021                                USA000245             22
              Harassing Conduct Fact-Finding Investigation
     18       February 9, 2021                                USA000267            262
              October 9, 2020 Ethics Complaint from Jared
     19       Nally to Lawrence City Manager                  USA000529              3
              January 13, 2021 Declaration of Ronald Joseph
     20       Graham                                          USA000532              7
              January 14, 2021 Declaration of James W.
     21       Raines, Jr.                                     USA000539              7

     22       January 15, 2021 Declaration of Tonia Salvini   USA000546             11
              October 9, 2020 Ethics Complaint from Jared
     23       Nally to Lawrence City Manager                  USA000557              3
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     January 19, 2021 Declaration of Joshua Levi
24   Falleaf                                       USA000560        6

25   January 15, 2021 Declaration of Carlene Morris USA000566       4

26   January 18, 2021 Declaration of Rhonda Levaldo USA000570       5
     The Indian Leader February 11, 2020 Volume
27   123 Issue 1                                    USA000575       9
     The Indian Leader April 13, 2020 Volume 123
28   Issue 3                                        USA000584       9

     Student Safety Jeopardized by Violation of Fifth
29   Amendment by Jared Nally April 15, 2020          USA000593     4
30   April 27, 2020 FOIA from Jared Nally             USA000597     3
     May 1, 2020 Letter from Janet Ingersoll to Julia
     Goodfox re: FOIA Case Number BIA-2020-00695
31   (Jared Nally)                                    USA000600     4

32   It's Not Just $475 by Jared Nally July 10, 2020  USA000604     3
     City of Lawrence Police Review Board Meeting
33   Minutes September 30, 2020                       USA000607     6
     August 26, 2020 Letter from Jared Nally to
34   Walthall re: Public Comment                      USA000613     2
     September 29, 2020 Email from Jared Nally to
35   Bobbie Walthall                                  USA000615    13
     October 9, 2020 Email from Jared Nally to Craig
36   Owens                                            USA000628     5
     December 17, 2020 Letter from Toni R.
37   Wheeler to Jared Nally                           USA000633     4
     April 16, 2020 Email Chain re: Census Recruiting
38   in Lawerence                                     USA000637     9
     July 10, 2020 Email From Jim Rains to Deans
39   and Faculty                                      USA000646     2
     November 7, 2014 Letter from Dr. Venida
     Chenault to Beverly Fortner re: Student Fee
40   Distribution Proposal                            USA000648    59
     October 9, 2020 Email from Jared Nally to
     Ronald Graham re: Request for Racial Identiy
41   Acknowledgement                                  USA000707     3
     October 9, 2020 Letter from Jared Nally to
     Ronald Graham re: Request for Racial Identiy
42   Acknowledgement                                  USA000710     2
     August 26, 2020 Letter from Jared Nally to
43   Walthall re: Public Comment                      USA000712     2
     August 28, 2020 Letter from Jared Nally to
44   Tonia Salvini re: Letter of Apology              USA000714     1
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     September 29, 2020 Email Chain from Jared
45   Nally to Bobbie Walthall                         USA000715    13
     September 29, 2020 Letter from Jared Nally to
     Community Police Review Board re: Public
46   Comment                                          USA000728    11
     October 9, 2020 Email from Jared Nally to Craig
47   Owens                                            USA000739     5
     December 17, 2020 Letter from Toni R.
48   Wheeler to Jared Nally                           USA000744     4
     April 16, 2020 Email Chain re: Census Recruiting
49   in Lawerence                                     USA000748     9

     April 17, 2020 Email from Tonia Salvini to Jared
50   Nally re: Census Recruiting in Lawrence          USA000757     2

     June 20, 2020 Letter from Jared Nally to
51   President Graham re: HINU 2020 Census Efforts USA000759        3
     October 5, 2020 Email from Jared Nally to
52   Patrick Compton                                   USA000762    2
     University president threatens student
     newspaper editor for asking questions, not
     treating administration with 'highest respect' by
53   FIRE October 26, 2020                             USA000764    4

     LJW Haskell president warns student editor
     against 'attacks,' threatens discipline; groups
54   denounce action as First Amendment violation USA000768         5

     Student Safety Jeopardized by Violation of Fifth
55   Amendment by Jared Nally April 15, 2020          USA000773     4
     November 7, 2014 Letter from Dr. Venida
     Chenault to Beverly Fortner re: Student Fee
56   Distribution Proposal                            USA000777    59
     Haskell Indian Nations University Indian Leader
57   Association                                      USA000836    16
     The Indian Leader Association 2020-2021 Plan
58   of Operations                                    USA000852    61

     Haskell Indian Nations University Guidelines for
59   Registration of Clubs/Organizations              USA000913     2
     August 17, 2020 Message to all SGA Student
60   Organizations of 2019-2020                       USA000915     3
61   Appendix for BIE Student Banks                   USA000918     2
     October 27, 2020 Email from Steve Byinton to
62   Stephen Prue re: Indian Leader Funding         USA000920       1
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     April 1, 2021 Email from Steven Byinton re:
63   Indian Leader Payroll                             USA000921     1
     January 11, 2021 Email from Jeri Sledd to Jared
64   Nally re: Indian Leader Payroll                   USA000922     1
     Student Bank Vendor Ledgers January -
65   December 2020                                     USA000923     1
     March 2, 2021 Email from Steven Byinton to
     Ronald Graham re: Fall 2020 Pell Grant Activity
66   Fees                                              USA000924     1
     March 2, 2021 Email from Mona Franklin to
67   Klarissa Jensen                                   USA000925     1
     Fall 2020 Indian Leader Association Expense
68   Report                                            USA000926     8
69   HINU Student Bank Card                            USA000934     1

70   HINU Policies and Procedures for Student Bank     USA000935    14
     November 7, 2014 Letter from Dr. Venida
     Chenault to Beverly Fortner re: Student Fee
71   Distribution Proposal                             USA000949    59
     November 7, 2014 Memo from Dr. Venida
     Chenault to Beverly Fortner re: Student Fee
72   Distribution Proposal                             USA001008     1
     March 2, 2021 Email from Steven Byinton to
     Ronald Graham re: Fall 2020 Pell Grant Activity
73   Fees                                              USA001009     1
74   HINU Standard Operation Procedures                USA001010   120
     October 17, 2020 Email from Jared Nally to
75   Tony Dearman                                      USA001130     1
     October 17, 2020 Reporting Behavior of
76   Subordinate Jared Nally to Tony Dearman           USA001131     3
     October 17, 2020 Email from Jared Nally to
77   Tony Dearman                                      USA001134     1
     October 5, 2020 Email from Jared Nally -
78   REDACTED                                          USA001135     2
     October 19, 2020 Email from Tina Hall to
79   Tanisha Edmonds                                   USA001137     1
     October 17, 2020 Letter from Jared Nally to
     Sloan Farell re: Violation of Execitive Order
80   13160                                             USA001138     3
     August 4, 2020 Email from Steve Byington to
81   Jeri Sledd                                        USA001141     1
     Public Voucher for Purchases and Services
82   Other than Personal                               USA001142     1
83   March 2, 2021 Email from Steve Byington           USA001143     1
     Public Voucher for Purchases and Services
84   Other than Personal                               USA001144     1
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      October 17, 2020 Email from Jared Nally to
85    Tony Dearman                                    USA001145      1
      October 5, 2020 Email from Jared Nally to
86    Patrick Compton                                 USA001146      2
      HINU Student Code of Conduct Spring 2021 -
87    Fall 2021                                       USA001148     96
      January 21, 2021 Email from David Conrad to
88    Klarissa Jensen                                 USA001244      6
      January 13, 2021 Email from Jennifer Wiginton
89    to Ronald Graham                                USA001250      2
      Undated Letter from Dr. Ronald Graham to
90    Jared Nally                                     USA001252      1
      January 19, 2021 Email Chain from Jennifer
91    Wiginton to Lindsie Rank                        USA001253      3
      January 19, 2021 Email from Lindsie Rank to
92    Ronald Graham                                   USA001256      2
      January 19, 2021 Letter from FIRE to Dr. Ronald
93    Graham                                          USA001258     11
      October 17, 2020 Email from Jared Nally to
94    Tony Dearman                                    USA001269      1
      October 17, 2020 Letter from Jared Nally to
      Tony Dearman re: Reporting Behavior of
95    Subordinate                                     USA001270      3
      March 25, 2020 Email from Jim Rains to
96    Stephen Prue                                    USA001273      1
      November 2, 2020 Email from Tonia Salvini to
97    Ronald Graham                                   USA001274      2
      September 20, 2020 Email from Tonia Salvini to
98    Joshua Falleaf                                  USA001276      2
      September 29, 2020 Letter from Jared Nally to
      Community Police Review Board re: Public
99    Comment                                         USA001278     11
      January 18, 2021 Email from Joshua Falleaf to
100   Sandra Wyllie                                   USA001289      1
      January 19, 2021 Declaration of Joshua Levi
101   Falleaf                                         USA001290      6
      April 15, 2020 Email from Jim Rains to The
102   Indian Leader                                   USA001296      3
      July 31, 2020 Email From Jim Rains to Rhonda
103   Levaldo & Jared Nally                           USA001299      1
      June 21, 2021 Email from Jeri Sledd to Connie
104   Briggs                                          USA001300      4
      The Indian Leader Association 2020-2021 Plan
105   of Operations                                   USA001304     61
      June 21, 2021 Email from Jeri Sledd to Connie
106   Briggs                                          USA001365      2
107   IL Payroll 4th Issue Spring 2020                USA001367      1
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108   Mailing Addresses for The Indian Leader Payroll USA001368      1
      June 21, 2021 Email from Jeri Sledd to Connie
109   Briggs                                          USA001369      2
      June 21, 2021 Email from Jeri Sledd to Connie
110   Briggs                                          USA001371      2
      June 21, 2021 Email from Jeri Sledd to Connie
111   Briggs                                          USA001373      2
      June 21, 2021 Email from Jeri Sledd to Connie
112   Briggs                                          USA001375      2
      June 21, 2021 Email from Jeri Sledd to Connie
113   Briggs                                          USA001377      1
      June 21, 2021 Email from Jeri Sledd to Connie
114   Briggs                                          USA001378      1
      June 21, 2021 Email from Jeri Sledd to Connie
115   Briggs                                          USA001379      1

116   Mailing Addresses for The Indian Leader Payroll USA001380      1
117   IL Payroll 3rd Issue Spring 2020                USA001381      1
      June 21, 2021 Email from Jeri Sledd to Connie
118   Briggs                                          USA001382      1
      June 20, 2021 Email from Rhonda Levaldo to
119   Connie Briggs                                   USA001383      1
      June 20, 2021 Email from Rhonda Levaldo to
120   Connie Briggs                                   USA001384      1
      July 8, 2020 Letter from Jared Nally to Ronald
121   Graham re: Fall 2020 Fees                       USA001385      2
      June 20, 2021 Email from Rhonda Levaldo to
122   Connie Briggs                                   USA001387      3
      June 20, 2021 Email from Rhonda Levaldo to
123   Connie Briggs                                   USA001390      3
      June 20, 2021 Email from Rhonda Levaldo to
124   Connie Briggs                                   USA001393      4
      June 20, 2021 Email from Rhonda Levaldo to
125   Connie Briggs                                   USA001397      1
      June 20, 2021 Email from Rhonda Levaldo to
126   Connie Briggs                                   USA001398      1

      June 20, 2020 Letter from Jared Nally to
127   President Graham re: HINU 2020 Census Efforts USA001399        3
      June 20, 2021 Email from Rhonda Levaldo to
128   Connie Briggs                                 USA001402        2
      June 20, 2021 Email from Rhonda Levaldo to
129   Connie Briggs                                 USA001404        2
      June 20, 2021 Email from Rhonda Levaldo to
130   Connie Briggs                                 USA001406        1
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131   Mailing Addresses for The Indian Leader Payroll USA001407      1
132   IL Payroll 3rd Issue Spring 2020                USA001408      1
      June 20, 2021 Email from Rhonda Levaldo to
133   Connie Briggs                                   USA001409      1
      June 20, 2021 Email from Rhonda Levaldo to
134   Connie Briggs                                   USA001410      1
      June 20, 2021 Email from Rhonda Levaldo to
135   Connie Briggs                                   USA001411      2
      June 20, 2021 Email from Rhonda Levaldo to
136   Connie Briggs                                   USA001413      2
137   HINU Statement May 25, 2020                     USA001415      1
      June 20, 2021 Email from Rhonda Levaldo to
138   Connie Briggs                                   USA001416      2
      June 20, 2021 Email from Rhonda Levaldo to
139   Connie Briggs                                   USA001418      2
      June 20, 2021 Email from Rhonda Levaldo to
140   Connie Briggs                                   USA001420      2
      Student Bank Vendor Ledgers January -
142   December 2020                                   USA001422      1
      June 20, 2021 Email from Rhonda Levaldo to
143   Connie Briggs                                   USA001423      3
      June 20, 2021 Email from Rhonda Levaldo to
144   Connie Briggs                                   USA001426      3
      June 20, 2021 Email from Rhonda Levaldo to
145   Connie Briggs                                   USA001429      1
      June 20, 2021 Email from Rhonda Levaldo to
146   Connie Briggs                                   USA001430      1
      June 20, 2021 Email from Rhonda Levaldo to
147   Connie Briggs                                   USA001431      1
      The Indian Leader April 13, 2020 Volume 123
148   Issue 3                                         USA001432      8
      June 20, 2021 Email from Rhonda Levaldo to
149   Connie Briggs                                   USA001440      2
      June 20, 2021 Email from Rhonda Levaldo to
150   Connie Briggs                                   USA001442      1
      The Indian Leader April 13, 2020 Volume 123
151   Issue 3                                         USA001443      8
      June 20, 2021 Email from Rhonda Levaldo to
152   Connie Briggs                                   USA001451      1
      The Indian Leader April 13, 2020 Volume 123
153   Issue 3                                         USA001452      8
      June 20, 2021 Email from Rhonda Levaldo to
154   Connie Briggs                                   USA001460      3
      June 20, 2021 Email from Rhonda Levaldo to
155   Connie Briggs                                   USA001463      2
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      June 20, 2021 Email from Rhonda Levaldo to
156   Connie Briggs                                 USA001465        2
      June 20, 2021 Email from Rhonda Levaldo to
157   Connie Briggs                                 USA001467        2
      March 25, 2020 Email from Jeri Sledd to The
158   Indian Leader                                 USA001469        7
